                  IN THE UNITED STATES DISTRICT COURT FOR THE
                MIDDLE DISTRICT OF TENNESSEE, NASHVILLE DIVISION

JOHN DOE #12,

          Plaintiff,
                                                                  Case No. 3:22-cv-00712
          vs.
                                                                      Judge Trauger
WILLIAM B. LEE, et al.,

          Defendants.


     PLAINTIFF’S MOTION FOR LEAVE TO FILE DECLARATION UNDER SEAL


          Pursuant to Local Rule 5.03, Plaintiff moves the Court for leave to file his declaration in

support of his motion for a preliminary injunction under seal. In support of this motion, Plaintiff

states:

          1. Plaintiff has moved the Court for an order permitting him to proceed under a pseudo-

nym and requiring that “[a]ll documents filed with the court that contain plaintiff’s name or infor-

mation that identifies Plaintiff or Plaintiff’s family members, directly or indirectly…shall be re-

dacted or filed under seal.”

          2. Plaintiff needs to file a declaration in support of his motion for a preliminary injunction.

That declaration discloses his true name and other detailed information (e.g., the exact date of

offense and conviction, the location of the offense and conviction, identifying information about

the victim of the offense, the location of past and current residences, age, employers, education)

that in combination could realistically be used to identify Plaintiff.

          3. Plaintiff has attached a redacted version of his declaration to his motion for a prelimi-

nary injunction.

          4. Sealing this information is a narrowly tailored means to avoid identifying Plaintiff,

protect his legitimate interest in avoiding unwarranted opprobrium, humiliation, and harassment



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from bringing these actions, and preserve his chance to no longer be publicly identified as a regis-

tered sex offender if he prevails in this action.

        Plaintiff therefore requests the Court to grant the relief requested above and any other nec-

essary or proper relief.

        Dated: September 14, 2022.

                                                    Respectfully submitted:

                                                    /s/ W. Justin Adams
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                                                    Plaintiff’s Counsel




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                                  CERTIFICATE OF SERVICE

        I certify that on September 14, 2022, a copy of the foregoing was filed electronically. No-

tice of this filing will be sent by operation of the Court’s electronic filing system to all parties in-

dicated on the electronic filing receipt. All other parties will be served by email:

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        Counsel for Defendants

                                                    /s/W. Justin Adams
                                                    W. Justin Adams




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